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 7

 8                         UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA

10

11
     Ali Mahdavi, an individual               Case: 2:20-cv-00332

12           Plaintiff,                       NOTICE OF VOLUNTARY
                                              DISMISSAL WITH PREJUDICE
13           vs.
14   TheBalm Cosmetics Holdings, Inc and
15   DOES 1 through 10, inclusive,
16
           Defendants.
17

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20         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
21   Plaintiff Ali Mahdavi hereby gives notice that the above-styled action is voluntarily
22   dismissed with prejudice.
23
           July 8
     DATED:______, 2020                        THE MCARTHUR LAW FIRM, PC
24

25                                             By:
                                                     Stephen McArthur
26                                                   Thomas Dietrich
                                                     Attorneys for Plaintiff Ali Mahdavi
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